           Case 3:07-cr-00235-JAG           Document 77         Filed 10/31/07      Page 1 of 6



 1                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                     CRIMINAL 07-235 (JAG)
 7        [3] DANIEL SANCHEZ-OROSCO

 8        Defendant.
 9
10                       MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.         Procedural Background
13              On June 13, 2007, a Grand Jury returned a seven-count indictment against [3] Daniel Sánchez-
14   Orosco (hereinafter referred to as “defendant”) and two other individuals. Docket 25. Defendant was
15   charged in counts one, two, three, four, six and seven of the indictment. On October 12, 2007,
16   defendant filed a motion for change of plea. Docket 67.
17              The defendant has agreed to plead guilty to count four of the indictment and true to the forfeiture
18   allegations contained in counts six and seven of the indictment. Count four charges that from on or
19   about May 25, 2007, in the District of Puerto Rico, and elsewhere, and within the jurisdiction of this
20   Court, [1] Richard Mas-García, [2] Vincent Vizcarrondo-Rivera, and [3] Daniel Sánchez Orozco, aiding
21   and abetting each other, did knowingly and intentionally possess, with intent to distribute, a mixture or
22   substance containing a detectable amount of marijuana, to wit; approximately one hundred sixty (160)
23   grams (gross weight), a Schedule I, Narcotic Controlled Substance, in violation of Title 21,United
24   States Code, Section 841 (a)(1), 841(a)(1), and 841(b)(1)(D) and Title 18, United States Code, Section
25   2.
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           Case 3:07-cr-00235-JAG         Document 77         Filed 10/31/07      Page 2 of 6



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 2   II.      Consent to Proceed Before a Magistrate Judge
 3            On October 31, 2007, while assisted by Eric J. Pijuan-Torres, Esq., the defendant, by consent,
 4   appeared before the undersigned in order to change his previous not guilty plea to a plea of guilty as to
 5   count four of the indictment.
 6            In open court the defendant was questioned as to the purpose of the hearing being held and was
 7   advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted
 8   under oath and that it was expected that his answers would be truthful; (c) the potential consequences
 9   of lying under oath (such as a perjury charge); and (d) his right to have the change of plea proceedings
10   presided by a district judge instead of a magistrate judge. The defendant was also explained the
11   differences between the appointment and functions of the two. The defendant consented to proceed
12   before the undersigned magistrate judge.
13   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
14            A.     Rule 11(c)(1) Requirements
15                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
16            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
17            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
18            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
19            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
20
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
21
              In response to further questioning, defendant was explained and he understood that if convicted
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     on count four he will face the following maximum penalties: a term of imprisonment of up to five (5)
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     years, a fine not to exceed two thousand fifty hundred dollars ($250,000.00), and a term of supervised
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     release of at least two (2) years. Defendant was also made aware that the court must impose a mandatory
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           Case 3:07-cr-00235-JAG                  Document 77            Filed 10/31/07           Page 3 of 6



 1                                                                    3
 2    penalty assessment of one hundred dollars ($100) per offense pursuant Title 18, United States Code,
 3    Section 3013(a).1
 4                 The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 5    in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 6    him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
 7                 The defendant acknowledged that at this stage no guarantees or promises as to the sentence to
 8    be imposed had been made to him. The defendant was also explained what the supervised release term
 9    means and was urged to cooperate with the United States Probation Office.
10                 B. Admonishment of Constitutional Rights
11                 To assure defendant’s understanding and awareness of his rights, defendant was advised of his
12    right:
13                 1.   To remain silent at trial and be presumed innocent, since it is the government who has the
14    burden of proving him guilt beyond a reasonable doubt.
15                 2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
16    to his decision not to testify.
17                 3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
18    cross examine the government witnesses, present evidence on his behalf, and challenge the
19    government’s evidence.
20                 4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
21 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
22                 5.   To use the subpoena power of the court to compel the attendance of witnesses.
23                 Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
24 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
25 that defendant is aware of his constitutional rights.
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                         These are the statutory maximum penalties based on the quantity of drugs charged in count four of the
     indictment. It is noted, however, that for purposes of the advisory sentencing guideline calculations, the parties have stipulated
28   the quantity of at least 1,000 kilograms, but less than 3,000 kilograms of marihuana.
         Case 3:07-cr-00235-JAG          Document 77        Filed 10/31/07     Page 4 of 6



 1                                                      4
 2          C. Consequences of Pleading Guilty
 3          Upon advising defendant of his constitutional rights, he was further advised of the consequences
 4 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
 5 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
 6 his statement that he is guilty.
 7          Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
 8 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
 9 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
10 be required to serve an additional term of imprisonment. He was also explained that parole has been
11 abolished.
12          D. Plea Agreement
13          The parties have entered into a written plea agreement that, upon being signed by the
14 government, defense attorney and defendant, was filed and made part of the record. Defendant was
15 clearly warned and recognized having understood that:
16          1.   The plea agreement is not binding upon the sentencing court.
17          2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
18 for the government which is presented as a recommendation to the court in regards to the applicable
19 sentencing adjustments and guidelines, which are advisory.
20          3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
21 guideline computation, that can be either accepted or rejected by the sentencing court.
22          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
23 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
24 maximum possible penalty prescribed by statute.
25          Defendant acknowledged having understood this explanation.
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           Case 3:07-cr-00235-JAG        Document 77        Filed 10/31/07      Page 5 of 6



 1                                                      5
 2           E. Government's Evidence (Basis in Fact)
 3           The government presented a proffer of its evidence as stated in the version of facts of the plea
 4 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
 5 and evidence to establish all the elements of the offense charged.
 6           F. Voluntariness
 7           The defendant accepted that no threats had been made to induce him to plead guilty and that he
 8 did not feel pressured to plead guilty. He came to the hearing for the purpose of pleading guilty and
 9 listened attentively as the prosecutor outlined the facts which would have been proven had the case
10 proceeded to trial.
11   IV.     Conclusion
12           The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
13 Criminal Procedure, and has entered a plea of guilty as to count four of the indictment. After cautioning
14 and examining the defendant under oath and in open court, concerning each of the subject matters
15 mentioned in Rule 11, as described in the preceding sections, I find that defendant [3] Daniel Sánchez-
16 Orosco is competent to enter this guilty plea, is aware of the nature of the offense charged and the
17 maximum statutory penalties that the same carries, understands that the charge is supported by the
18 government’s evidence, has admitted to every element of the offense charged, and has done so in an
19 intelligent and voluntary manner with full knowledge of the consequences of his guilty plea. Therefore,
20 I recommend that the court accept the guilty plea of the defendant and that the defendant be adjudged
21 guilty as to count four of the indictment.
22           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)
23 of the Local Rules of Court. Any objections to the same must be specific and must be filed with the
24 Clerk of Court within ten (10) days of its receipt. Rule 72(d), Local Rules of Court; Fed. R. Civ. P.
25 72(b). Failure to timely file specific objections to the report and recommendation is a waiver of the
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        Case 3:07-cr-00235-JAG          Document 77        Filed 10/31/07     Page 6 of 6



 1                                                     6
 2 right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
 3          SO RECOMMENDED.
 4          At San Juan, Puerto Rico, this 31st day of October, 2007.
 5
                                                  s/Marcos E. López
 6                                                MARCOS E. LÓPEZ
                                                  UNITED STATES MAGISTRATE JUDGE
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